                               Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 1 of 26 Page ID #:9443



                                      1   R. Joseph Trojan CA Bar No. 137,067
                                          trojan@trojanlawoffices.com
                                      2   Lan C. Dang CA Bar No. 223,455
                                      3   dang@trojanlawoffices.com
                                          Francis Wong CA Bar No. 284,946
                                      4   wong@trojanlawoffices.com
                                      5   TROJAN LAW OFFICES
                                          9250 Wilshire Blvd., Suite 325
                                      6   Beverly Hills, CA 90212
                                      7   Telephone: 310-777-8399
                                          Facsimile: 310-691-1086
                                      8   Attorney for Defendant,
                                      9   California Expanded Metal Products Co.

                                     10

                                     11                      UNITED STATES DISTRICT COURT

                                     12                     CENTRAL DISTRICT OF CALIFORNIA
TROJAN LAW OFFICES




                                     13
                                          Seal4Safti, Inc., a Washington      CASE NO. 2:20-cv-10409 −MCS−JEM
                     BEVERLY HILLS




                                     14   corporation,
                                                                              DEFENDANT CEMCO’S REDACTED
                                     15
                                                         Plaintiff,           TRIAL BRIEF PURSUANT TO L.R.
                                     16                                       16-10
                                     17
                                          California Expanded Metal           Trial Date: May 3, 2022
                                     18   Products Co., a California          Time: 8:30 a.m.
                                          company,                            Place: Courtroom 7C
                                     19

                                     20                  Defendant.           Honorable Mark C. Scarsi
                                     21

                                     22

                                     23

                                     24

                                     25

                                     26

                                     27

                                     28
                               Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 2 of 26 Page ID #:9444



                                      1                                              TABLE OF CONTENTS
                                                                                                                                                            PAGE
                                      2
                                      3   I.      INTRODUCTION............................................................................................... 1
                                      4   II. TRIAL ISSUES ................................................................................................... 3
                                               A. New Assignor Estoppel Evidence for Trial ..................................................... 3
                                      5
                                                 1. Evidence of Settlement Negotiation Contradicting Klein’s Declaration ..... 4
                                      6
                                                  2. Klein’s Allegations and Admissions in the 2016 Case ................................ 6
                                      7
                                               B. Invalidity Issues ............................................................................................... 7
                                      8           1. S4S’s “Prior Art” Do Not Qualify as Prior Art ........................................... 7
                                      9           2. No Anticipation of the Klein Patents ........................................................... 8
                                     10           3. The Klein Patents Are Not Obvious ............................................................. 8
                                     11        C. Infringement .................................................................................................... 9
                                                  1. The FRG Products ........................................................................................ 9
                                     12
                                                  2. Direct Infringement by Defendants .............................................................. 9
TROJAN LAW OFFICES




                                     13
                                                     a.    Infringement of the Klein Patents ............................................................. 9
                     BEVERLY HILLS




                                     14
                                                    b. The Pilz ’389 Patent ................................................................................ 11
                                     15           3. Induced Infringement ................................................................................. 14
                                     16              a.    Direct Infringement by Customers.......................................................... 14
                                     17              b. Instructions on S4S Website ................................................................... 18
                                     18              c.    Instructions for UL Listed Assemblies ................................................... 19
                                     19
                                               D. Willfulness ..................................................................................................... 19
                                               E. Damages ........................................................................................................ 20
                                     20
                                                  1. Prior License Agreements .......................................................................... 20
                                     21
                                                  2. A Reasonable Royalty Rate in the Present Case ........................................ 21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                                                                                        -1-
                               Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 3 of 26 Page ID #:9445



                                      1                                      TABLE OF AUTHORITIES
                                                                                                                                                PAGE
                                      2
                                      3   CASES

                                      4   Minerva Surgical, Inc. v. Hologic, Inc.,
                                           141 S. Ct. 2298, 210 L. Ed. 2d 689 (2021) ............................................................. 3
                                      5

                                      6   Toshiba Corp. v. Imation Corp.,
                                            681 F.3d 1358 (Fed. Cir. 2012) ............................................................................ 15
                                      7
                                      8
                                      9

                                     10
                                     11
                                     12
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14
                                     15
                                     16
                                     17
                                     18
                                     19
                                     20
                                     21
                                     22
                                     23
                                     24
                                     25
                                     26
                                     27
                                     28
                                                                                                 -2-
                               Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 4 of 26 Page ID #:9446



                                      1            Pursuant to Local Rule 16-10, Plaintiff California Expanded Metal Products
                                      2   Company (“CEMCO”) respectfully submits this trial brief for the jury trial beginning
                                      3   on May 3, 2022. As the Court is familiar with the shorthand references (e.g. “Klein
                                      4   Patents,” “the Washington Case,” “the Original Litigation,” etc.) identified on page
                                      5   1 of CEMCO’s Memorandum of Contentions of Fact and Law (Dkt. 133) and other
                                      6   recent pretrial filings, CEMCO will use the same shorthand references here.
                                      7       I.   INTRODUCTION
                                      8            This brief will focus on hinge issues as to validity, infringement and damages
                                      9   that have not been fully addressed in other pretrial filings. CEMCO will also discuss
                                     10   evidence1 that have not been previously raised as to these hinge issues.
                                     11            On validity, there are two hinge issues: assignor estoppel and the priority of
                                     12   the patents. Assignor estoppel hinges on whether the $800,000 that CEMCO paid to
                                          James Klein in settlement of the Original Litigation was for the assignment of the
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14   Klein Patents (as CEMCO claims) or whether that money was paid to satisfy royalties
                                     15   owed by a third-party named ClarkDietrich (as S4S and Klein now claim). The Court
                                     16   will recall that S4S submitted a declaration by Klein on January 3, 2022 in the present
                                     17   case claiming that the money was for royalties owed by ClarkDietrich (Dkt. 91-3).
                                     18   CEMCO will present evidence at trial to show that Klein’s declaration was false.
                                     19            Specifically, CEMCO will present settlement drafts and emails chronicling the
                                     20   four months of settlement negotiation, which show that the money was for the
                                     21   assignment of the Klein Patents. CEMCO will also present evidence that Klein
                                     22   subsequently sued ClarkDietrich alleging that ClarkDietrich never paid the owed
                                     23   royalties. In other words, Klein cannot claim that the $800,000 was for royalties
                                     24   owed by ClarkDietrich when he sued ClarkDietrich claiming he was still owed that
                                     25   money. And CEMCO will present evidence that Klein was a licensee to the Klein
                                     26   Patents after their assignment to CEMCO. Klein cannot claim that the patents were
                                     27   1
                                           Citations are to the trial exhibit numbers in the March 28, 2022 Joint Exhibit List.
                                     28   (Dkt. 118.)
                                                                                      -1-
                               Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 5 of 26 Page ID #:9447



                                      1   invalid when he was benefiting from the monopoly of the patents in his licensed
                                      2   territory and as he received royalties for the patents.
                                      3         The other hinge issue as to validity is the priority of the Asserted Patents
                                      4   relative to the “prior art” asserted by S4S. Specifically, S4S’s expert’s invalidity
                                      5   report is premised on assumptions that the prior art references pre-date the Asserted
                                      6   Patents even though they post-date the priority of the Asserted Patents. S4S’s expert
                                      7   made the assumptions based on instruction of S4S’s counsel. S4S’s expert made no
                                      8   effort to independently determine priority. When the Asserted Patents are attributed
                                      9   their correct priority, S4S’s references are disqualified as prior art and, consequently,
                                     10   S4S’s invalidity arguments collapse.
                                     11         Even if S4S reaches the merits of its obviousness claims, its arguments are
                                     12   undone by Klein’s own 37 CFR 1.132 declaration (and exhibits) touting the
                                          “secondary considerations” of his invention.
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14         As to infringement, S4S’s non-infringement defense had hinged on convincing
                                     15   this Court to adopt a narrow claim construction of “intumescent strip” by interpreting
                                     16   the term “comprising” to mean “consisting essentially of” in order to exclude the
                                     17   foam layer of the FRG strip, which the Court declined to do. (Dkt. 65). Instead, the
                                     18   Court interpreted “comprising” to be an open term. Under this Court’s construction,
                                     19   there is no question the Accused Products are infringing because the FRG strip is an
                                     20   intumescent strip applied to the track as claimed in the Klein Patents. (Dkt. 114-1.)
                                     21   The same analysis applies to the Pilz ’389 Patent.
                                     22         Further, S4S’s infringement was willful. The crux of S4S’s willfulness is that
                                     23   it is still selling intumescent strip and inducing its customers to infringe the Klein
                                     24   Patents despite being held in contempt in the Washington Case. S4S’s infringement
                                     25   could not be more deliberate and flagrant. To top it off, S4S presented a false
                                     26   declaration from Klein in this case (Dkt. 91-3) to bolster its invalidity defense.
                                     27
                                     28
                                                                                     -2-
                               Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 6 of 26 Page ID #:9448



                                      1            Lastly, the hinge issue for damages is the rate for a reasonable royalty pursuant
                                      2   to Georgia-Pacific. The key evidence at trial will be previous licenses for these
                                      3   patents, including: (i) the 2012 license between BlazeFrame and ClarkDietrich (Trial
                                      4   Ex. 178); (2) the 2015 license between CEMCO and ClarkDietrich (Trial Ex. 179);
                                      5   (3) the 2017 license between CEMCO and ClarkDietrich (Trial Ex. 180); and most
                                      6   particularly, the 2019 settlement agreement between CEMCO/ClarkDietrich and
                                      7   Klein/Safti-Seal (Trial Ex. 447).
                                      8   II.      TRIAL ISSUES
                                      9            A.    New Assignor Estoppel Evidence for Trial
                                     10            In denying CEMCO’s motion for summary judgment as to S4S’s invalidity
                                     11   claim based on assignor estoppel (Dkt. 79), the Court found there were triable issues
                                     12   of fact under Minerva2 as to whether Klein represented that the Klein Patents were
                                          valid when he assigned them to CEMCO (Dkt. 109). The Court’s finding was based
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14   on Klein’s recent declaration claiming that the $800,000 paid by CEMCO in the
                                     15   Original Litigation was not for the assignment of his Patents but for past royalties
                                     16   allegedly owed by ClarkDietrich. (Dkt. 91-3 at ¶¶ 10, 11, 16, 20 and 21.) The Klein
                                     17   declaration is a sham.
                                     18            At trial, CEMCO will show that Klein’s declaration is contradicted by:
                                     19
                                                   (1) emails and drafts of the settlement agreement submitted by Klein’s
                                     20            own attorneys to Judge Pregerson in the Original Litigation, which
                                     21            provided that “BF will sell/transfer the ‘Patents’ to CEMCO in exchange
                                                   for $800,000” (Trial Exs. 344, 352, 364);
                                     22
                                     23            (2) Klein’s Answer and Counterclaims in the 2016 Case, in which he:

                                     24                  (a) admitted “[t]he $800,000 and royalties being offered to
                                     25                  BlazeFrame from CEMCO are for the assignment of the patents
                                                         listed on the Assignment and for nothing more” (Trial Ex. 365 at
                                     26                  ¶ 15 (emphasis added)) and “[t]he $800,000 and royalties were
                                     27
                                          2
                                     28       Minerva Surgical, Inc. v. Hologic, Inc., 141 S. Ct. 2298, 210 L. Ed. 2d 689 (2021).
                                                                                       -3-
                               Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 7 of 26 Page ID #:9449



                                      1               always understood to be consideration for any patent assignment
                                                      and/or license” (id., at ¶ 48 (emphasis added)); and,
                                      2
                                      3               (b) alleged that “Clark[Dietrich] also breached the October
                                                      Settlement Agreement by, for example, failing to pay the escrow
                                      4               monies to BlazeFrame and/or Klein” (id., at ¶ 11); and,
                                      5
                                                (3) Klein’s own declaration in the 2016 Case, in which he stated under
                                      6         oath that he was still owed royalties from ClarkDietrich (Trial Ex. 366
                                      7         at ¶ 20);

                                      8         (4) Klein’s Answer in the 2018 Washington Case, admitting “CEMCO
                                      9         paid BlazeFrame for the assignment of the Patents” (Trial Ex. 367 at ¶
                                                7), which is signed by S4S’s current counsel.
                                     10
                                     11   CEMCO will now explain each of these points in fuller detail.
                                     12               1.     Evidence of Settlement Negotiation Contradicting Klein’s
TROJAN LAW OFFICES




                                     13                      Declaration
                     BEVERLY HILLS




                                     14         Klein and BlazeFrame filed a motion in the Original Litigation to enforce the
                                     15   settlement. In support of the motion, they submitted dozens of emails and settlement
                                     16   drafts that memorialized the settlement negotiations. (Trial Ex. 177-178 and 338-
                                     17   365.) In particular, Mr. Paul Beattie (BlazeFrame’s counsel)3 submitted no less than
                                     18   11 drafts of the proposed settlement, all showing that the $800,000 was for the
                                     19   assignment of Klein’s patents to CEMCO. (Trial Ex. 347-351, 353-356, 362, 363.)
                                     20         For example, Trial Ex. 344 is described as “an email from Ms. Renée Rothauge
                                     21   [Mr. Klein’s attorney in that case] to Mr. Trojan dated October 1, 2015 at 3:12 p.m.,
                                     22   confirming the terms of the Klein, BlazeFrame and CEMCO agreement in a term
                                     23   sheet.” (Trial Ex. 177 at ¶ 14.) The term sheet included in relevant part that “BF
                                     24   will sell/transfer the ‘Patents’ to CEMCO in exchange for $800,000”:
                                     25
                                     26
                                          3
                                     27
                                            BlazeFrame was represented by Paul Beattie. Mr. Klein was represented by Renée
                                          Rothauge. ClarkDietrich was represented by Ann Schoen. And CEMCO was
                                     28   represented by Joe Trojan.
                                                                                   -4-
                               Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 8 of 26 Page ID #:9450



                                      1

                                      2

                                      3

                                      4

                                      5

                                      6

                                      7   (Id. (emphasis added).)

                                      8         Similarly, Trial Ex. 350 is a November 4, 2015 email from Mr. Beattie to Mr.

                                      9   Trojan, in which Mr. Beattie forwarded Klein/BlazeFrame’s redlined draft of the

                                     10   settlement agreement:

                                     11

                                     12
TROJAN LAW OFFICES




                                     13
                     BEVERLY HILLS




                                     14

                                     15

                                     16

                                     17   (Trial Ex. 350.)
                                     18         And “[Trial Ex. 364] is a clean copy of the settlement agreement that Klein
                                     19   and BlazeFrame respectfully request the Court to adopt and enforce as accurately
                                     20   memorializing the terms of the parties’ settlement agreement.” (Trial Ex. 177 at ¶ 43
                                     21   (italicization added).) The settlement draft at Trial Ex. 364 provides:
                                     22

                                     23

                                     24

                                     25

                                     26   (Trial Ex. 364.)
                                     27         In short, over the course of the months-long settlement negotiation from
                                     28   roughly October 2015 to February 2016, all communications and drafts of the
                                                                                    -5-
                               Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 9 of 26 Page ID #:9451



                                      1   settlement confirm that the $800,000 was for the assignment of the “BlazeFrame
                                      2   Patents” (now referred to as the “Klein Patents” in this litigation). Put differently,
                                      3   none of the communications and drafts support S4S’s argument that the $800,000
                                      4   was payment for royalties allegedly owed by ClarkDietrich to Klein.
                                      5                2.    Klein’s Allegations and Admissions in the 2016 Case
                                      6         In the 2016 Case, CEMCO and ClarkDietrich sued Klein and BlazeFrame for
                                      7   breach of the Original Litigation settlement. (Trial Ex. 365.) Klein answered and
                                      8   counterclaimed, alleging:
                                      9
                                                       9.     …the following patents were assigned to CEMCO as part
                                     10                of the resolution of the prior litigation…Patent Nos. ʼ365, ʼ718,
                                     11                ʼ108, ʼ293, ʼ314, and ʼ526….This is reflected in numerous
                                                       places, including a written term sheet sent by Renee Rothauge
                                     12                to Joseph Trojan on October 1, 2015, as well as emails
                                                       between attorneys Beattie and Trojan. This understanding
TROJAN LAW OFFICES




                                     13
                                                       was also reflected in the Settlement Conference Transcript of
                     BEVERLY HILLS




                                     14                October 2, 2015…
                                     15
                                                       11. Plaintiff and Counterclaim Defendant Clark also breached the
                                     16                October Settlement Agreement by, for example, failing to pay
                                     17                the escrow monies to BlazeFrame and/or Klein that should
                                                       have been released upon conclusion of the lawsuit, particularly in
                                     18                light of the fact that Clark’s counsel explicitly agreed to a waiver
                                     19                and release of all claims, including Clark’s claim for
                                                       indemnification against BlazeFrame and Klein, during the
                                     20                October settlement conference…
                                     21
                                                       15. …The $800,000 and royalties being offered to BlazeFrame
                                     22                from CEMCO are for the assignment of the patents listed on the
                                     23                Assignment and for nothing more.
                                     24                19. …First, the $800,000 and royalties paid by CEMCO was
                                     25                consideration for the assignment of certain patent rights.
                                     26                22. Defendants [Klein and BlazeFrame] admit that CEMCO
                                     27                paid the $800,000 for the assignment of certain well-defined
                                                       patent rights to CEMCO.
                                     28
                                                                                     -6-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 10 of 26 Page ID
                                                                      #:9452


                                       1
                                                         23. Clark[Dietrich] … has not yet returned the escrow monies it
                                       2                 agreed to return, that it had been wrongfully withholding from
                                       3                 royalty payments due to BlazeFrame under the License and
                                                         Commercialization Agreement. To be clear, it has never
                                       4                 returned those promised monies.
                                       5
                                                         35. Defendants [Klein and BlazeFrame] admit that CEMCO
                                       6                 paid the $800,000. Defendants also note that BlazeFrame
                                       7                 assigned the relevant intumscent-header [sic] track patents to
                                                         CEMCO as explicitly agreed.
                                       8
                                       9                 48. …The $800,000 and royalties were always understood to
                                                         be consideration for any patent assignment and/or license.
                                      10
                                           (Trial Ex. 365 (emphasis added).)
                                      11
                                                   Later in the case, Klein himself submitted a declaration dated June 1, 2017 in
                                      12
                                           support of his motion for partial summary judgment, in which he stated:
TROJAN LAW OFFICES




                                      13
                                                         20. The total amount of unpaid BlazeFrame royalties collected by
                     BEVERLY HILLS




                                      14
                                                         ClarkDietrich for the period of December 20, 2012 to April 4,
                                      15                 2016 is … about $1,033,305.23. In other words, $1,033,305.23
                                      16                 represents the total dollar amount ClarkDietrich improperly
                                                         hornswoggled from BlazeFrame.
                                      17
                                      18   (Trial Ex. 366 at ¶ 20 (emphasis added).) Klein made these statements under oath.
                                      19   (Id.)
                                      20           In short, the January 3, 2022 Klein declaration (Dkt. 91-3) that S4S submitted
                                      21   to this Court was false.
                                      22           B.    Invalidity Issues
                                      23                 1.    S4S’s “Prior Art” Do Not Qualify as Prior Art
                                      24           The Pilz ’389 Patent claims a priority date of September 21, 2009 based on
                                      25   U.S. Provisional Application No. 61/244,277 (“’277 Application”), but S4S argues
                                      26   that it is only entitled to a priority date of April 2, 2018 when the application was
                                      27   filed. Many of S4S’s so-called “prior art” references come after September 21, 2009.
                                      28
                                                                                      -7-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 11 of 26 Page ID
                                                                      #:9453


                                       1   S4S’s own expert does not explain why the ’389 Patent is not entitled to the
                                       2   September 21, 2009 priority date as specified on the face of the patent.
                                       3          Even if the ’389 Patent is not given the benefit of the September 21, 2009
                                       4   priority date, it can still claim priority to any one of the six intervening patents.
                                       5   Accordingly, the “prior art” references asserted against the Pilz ’389 Patent are not
                                       6   prior art at all.
                                       7                   2.   No Anticipation of the Klein Patents
                                       8          S4S does not allege anticipation as to the Klein Patents.
                                       9                   3.   The Klein Patents Are Not Obvious
                                      10          Before the development of the patented products at issue, fire stopping
                                      11   products used at the top and bottom of walls were predominantly intumescent caulk
                                      12   and mineral wool. (See e.g., Dkt. 92-2: Pilz Rpt. at 3.) These materials were applied
                                           after the metal wall framing was installed and before the dry wall was applied.
TROJAN LAW OFFICES




                                      13
                     BEVERLY HILLS




                                      14   Because they were applied separately, different tradesmen with different skills were
                                      15   hired just for the fireproofing task.
                                      16          The Asserted Patents provide the ability to install fire-proofing without a
                                      17   separate, additional step of applying caulk and/or mineral wool. The patented
                                      18   products are shipped to the construction site with the intumescent material already
                                      19   factory-applied to the tracks. The tracks (with the pre-applied intumescent material)
                                      20   are then installed in a single step. Applying the intumescent to the track in the factory
                                      21   ensures that the intumescent is securely adhered to a clean steel surface under
                                      22   environmental conditions that ensure better adhesion and that the proper amount of
                                      23   intumescent is provided to a given area of track.
                                      24          Klein himself touted the “secondary considerations” of nonobviousness for his
                                      25   invention in a 37 C.F.R. 1.132 declaration, which averred that the invention solved
                                      26   long-felt need, its commercial success, and how it was copied by others. (Trial Ex.
                                      27   368 at ¶ 11.)
                                      28
                                                                                      -8-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 12 of 26 Page ID
                                                                      #:9454


                                       1            C.       Infringement
                                       2                     1.       The FRG ProductsProduct Profile Dimensions
                                       3            As identified in CEMCO’s Memorandum of Facts and Law, there are 12 FRG
                                       4   Products at issue, including for example:
                                                                             PS7 - SaftiFrame “DSL” (Slotted Both Sides) Profiles with two slotted legs

                                       5      Safti-Seal Product Profile             ProductRepresentative
                                                                                                  Profile Dimensions Picture of Profile
                                                                                        Composite Safti-Strip/Framing for use in up to 2 hr rated wall assemblies. Provides 100% unencumbered
                                                                                        joint protection accommodates up to 1 1/2” overall movement with level III (seismic) certification.
                                                          Name                          Minimum G40 (25ga) and G60 (18ga and heavier) coating two legs with slots spaced 1” O/C for
                                                                                        attachment of studs per listed assemblies in UL Fire Resistance Directory.
                                       6    PS7 – SaftiFrame “DSL”                           (I)


                                            (Slotted Both Sides) Profiles
                                                                                                                                                                (L)
                                                                                            (S)
                                       7
                                            with two slotted legs                                                 1.00"         .25"
                                                                                                                                Fastener mid-height
                                                                          PS1 – SaftiFrame “DL” (Deep Leg) Profiles with two solid legs
                                       8                                  Composite Safti-Strip/Framing
                                                                                            Widths (W)          up(Ga)
                                                                                                              Mil   to 2 hr rated
                                                                                                                                 of exposed slot

                                                                                                                                Partassemblies.
                                                                                                                                     Identification Provides 100% unencumbered and up to 2”
                                                                                             250 (2 1/2")    .030 (20)        Example: 362DSL2-30
                                                                          joint protection with
                                                                                             362 level
                                                                                                 (3 5/8")III (seismic)
                                                                                                             .033 (20)   certification.      Minimum G40 (20ga) and G60 (18ga and heavier)
                                       9                                  coating solid legs 400
                                                                                             supporting
                                                                                                 (4")
                                                                                              600 (6")
                                                                                                             “free             362 DSL
                                                                                                                    floating” studs
                                                                                                             .043 (18)
                                                                                                                  .054 (16)
                                                                                                                                       per listed   assemblies in UL Fire Resistance Directory.
                                                                                                                                               2 - 30


                                            PS1 – SaftiFrame “DL”(I) (Deep                    800 (8")            .068 (14)      Track Width       Series
                                                                                                                                           Profile        Gauge
                                                                                                         1 - Series (Fire Stop One Side)                                  2 - Series (Fire Stop Both Sides)
                                      10    Leg) Profiles with two solid legs                                           (W)
                                                                                                                                                      (L)
                                                                                                                                                                                         (W)


                                                                                                   (L)                                   (L)                            (L)                            (L)
                                      11
                                                                                     Widths (W)             Mil (Ga)            Part Identification
                                                                                     250 (2 1/2")          .030 (20)          Example: 400-DL-2-30
                                      12                                             362 (3 5/8")
                                                                                     400 (4")
                                                                                                           .033 (20)
                                                                                                           .043 (18)
                                                                                                             Profile
                                                                                                                                 400
                                                                                                                              Leg Length
                                                                                                                                           DL         2     - 30
                                                                                                                                                      Strip Width            Slot Height          Joint
                                                                                     600 (6")              .054 (16)
                                                                                                                          Track Width
                                                                                                                                 (L)          Series(I)                          (S)            Protection
                                                                                     800 (8")              .068 (14)
                                            PS10 – SaftiFrame “ODL”                                                             2.50" Profile     1.00"Gauge
TROJAN LAW OFFICES




                                      13
                                                                                                            DSL                                                                 1.50"              .75"
                                                                                                            DSLW                 3.00"                    1.25"                 1.50"            1.00"
                                                                        1 - Series                        (Fire
                                                                                                            DSLX
                                                                                                                Stop      One Side)
                                                                                                                               4.00"
                                                                                                                                                                2   -   Series (Fire
                                                                                                                                                                                2.00"
                                                                                                                                                                                      Stop   Both1.50"
                                                                                                                                                                                                  Sides)
                                                                                                                                                          1.75"
                                            (Offset Deep Leg) Profiles with                                   (W)                                                                    (W)
                     BEVERLY HILLS




                                      14
                                                                                        UL, ASTM & Code Standards                                         Leed Points
                                                                                        UL2079 (5th Edition) & CAN/ULC S115                               MR 2.1 & 2.2 - Construction Waste: up to 2pts
                                            two offset solid legs   (L)
                                                                                        ASTM E814, E1966, E2837
                                                                                                                          (L)
                                                                                        A1003, A653, A924, C645, C754, C955
                                                                                                                                                          MR 4.1 & 4.2 - Recycled Content: up to 2 pts
                                                                                                                                                          MR(L)
                                                                                                                                                             5.1 & 5.2 - Regional Proximity        (L)
                                                                                        Sound Tested according to ASTM E90-09                             EQ 4.1 - Low Emitting Materials
                                      15                                                2015 & 2018 IBC                                                   EQ 9 - Enhanced Acoustical
                                                                                                                                 Phone: (425) 869-2811 Fax: (425) 869-2300


                                      16
                                            PS27 – SaftiFrame “JR” profiles
                                                                     Profile                                   Leg Length
                                                                                                                                            www.saftiseal.com
                                                                                                                                         Strip Width                          Slot Height            Joint
                                                                                                                  (L)                         (I)                                 (S)              Protection
                                      17    with one short (front) andDLone                                      2.00"                      1.00"                                N/A                 .75"
                                                                      DLW                                        2.00"                      1.25"                                N/A                1.00"

                                      18
                                            long (back) leg           DLX                                        2.50"                      1.75"                                N/A                1.50"
                                                                                       DLZ                       3.00"                      2.25"                                N/A                2.00"

                                                                          UL, ASTM & Code Standards                                            Leed Points
                                      19                                  UL2079 (5th Edition) & CAN/ULC S115
                                                                          ASTM E814, E1966, E2837
                                                                                                                                               MR 2.1 & 2.2 - Construction Waste: up to 2pts
                                                                                                                                               MR 4.1 & 4.2 - Recycled Content: up to 2 pts
                                                                          A1003, A653, A924, C645, C754, C955                                  MR 5.1 & 5.2 - Regional Proximity

                                      20    PS61 – “DJR” Double J-Runner  Sound Tested according to ASTM E90-09
                                                                          2015 & 2018 IBC
                                                                                                                                               EQ 4.1 - Low Emitting Materials
                                                                                                                                               EQ 9 - Enhanced Acoustical

                                            (Shaft Wall) Profile                                                     Phone: (425) 869-2811 Fax: (425) 869-2300

                                      21
                                                                                                                                 www.saftiseal.com

                                      22
                                      23
                                      24
                                                             2.       Direct Infringement by Defendants
                                      25                              a.    Infringement of the Klein Patents
                                      26
                                                    The FRG products infringe at least claim 12 of the ‘718 Patent (Trial Ex. 101),
                                      27
                                      28   and claims 1 and 6 of the ‘314 Patent (Trial Ex. 102). Below is an exemplary claim
                                                                                                                                       -9-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 13 of 26 Page ID
                                                                      #:9455


                                       1   chart showing how claim 12 of the ‘718 patent reads on the DSL product (Trial Ex.

                                       2   208):
                                       3
                                           US Patent No. 7,814,718
                                       4   12. An elongated U-shaped       The DSL slotted leg profile is an elongated U-
                                       5   sheet-metal track,              shaped sheet metal track
                                           comprising:
                                       6   an elongated web integrally     The DSL profile has an elongated web connected
                                       7   connected to a pair of          to a pair of spaced apart and outwardly extending
                                           spaced apart and outwardly      sidewalls defining a U-shaped profile, each
                                       8   extending sidewalls with        sidewall having inner and outer sidewall surfaces.
                                       9   the web and sidewalls           Each sidewall has inner and outer surfaces and
                                           defining a U-shaped profile,    each has slots perpendicular to the lengthwise
                                      10   each sidewall having inner      direction of the web, and each sidewall has a first
                                      11   and outer sidewall surfaces,    sidewall portion adjacent to the web and each
                                           each sidewall having a          sidewall’s first portion is adjacent to its second
                                      12   plurality of slots positioned   portion:
                                           perpendicular to the
TROJAN LAW OFFICES




                                      13
                                           lengthwise direction of the
                     BEVERLY HILLS




                                      14
                                           elongated web, each
                                      15   sidewall having a first
                                           sidewall portion adjacent to
                                      16
                                           the web and a second
                                      17   sidewall portion adjacent to
                                           the first sidewall portion;
                                      18
                                      19
                                      20
                                      21
                                      22
                                      23
                                           and an elongated heat           The FRG Strip is affixed lengthwise on both sides
                                           expandable intumescent          of the DSL track as specified in the wall assembly
                                      24   strip affixed lengthwise on     of the HW-D-0980 UL listing; it is positioned on
                                      25
                                           at least one of the outer       the first sidewall portion and not the second
                                           sidewall surfaces of the pair   sidewall portion:
                                      26   of sidewalls,
                                      27
                                           the10ntomescent strip being
                                           positioned on the first
                                      28
                                                                                    -10-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 14 of 26 Page ID
                                                                      #:9456


                                       1    sidewall portion and not on
                                            the second sidewall portion.
                                       2
                                       3
                                       4
                                       5

                                       6
                                       7
                                       8
                                       9

                                      10         In addition, claim 1 of the ‘314 patent requires only a track with an intumescent
                                      11   strip where the intumescent material has a specified composition. The intumescent
                                      12   material in the FRG Strip meets that composition. (Trial Exs. 286, 300.) Therefore,
TROJAN LAW OFFICES




                                      13   the application of the FRG Strip to any generally u-shaped track (including the DL,
                     BEVERLY HILLS




                                      14   SL, DSL, RCD, RCS, JR, DJR, OJR, JRS, OJRS, ODSL, ODL, BT, and VT profiles)
                                      15   directly infringes claim 1 of the ‘314 patent. (Trial Exs. 208-218)).
                                      16                        b.    The Pilz ’389 Patent

                                      17         The FRG products infringe at least claim 7 of the ‘389 Patent (Trial Ex. 104).

                                      18   For example, claim 7 of the ‘389 patent reads on the DSL product (Trial Ex. 208):
                                                                            The ‘389 Patent
                                      19    Claim 7        FRG Products – See Exhibit 448 – 449
                                      20    7. A fire-     The FRG Products are specially configured to create a fire-rated
                                            block wall     wall assembly for sealing a deflection gap from fire, smoke and
                                      21    component      sound.
                                      22    for sealing a
                                            linear wall
                                      23
                                            gap from fire,
                                      24    smoke and
                                            sound, the
                                      25
                                            fire-block
                                      26    wall
                                            component
                                      27
                                            comprising:
                                      28
                                                                                     -11-
                                       Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 15 of 26 Page ID
                                                                        #:9457


                                                 1                                                                      The ‘389 Patent
                                                                                                                           Product Profile Dimensions
                                                            Claim 7                                        FRG Products – See Exhibit 448 – 449
                                                 2
                                                 3
                                                                                                                                                                                                                             Sound Tested in Accordance
                                                                                                                                                                                                                                 with ASTM E90-09
                                                 4
                                                                                                                                          PS6 - “DSL” (Slotted Both Sides) Profiles with two slotted legs
                                                 5                                                                                                                                           Sound Tested in Accordance
                                                                                                                  Composite Gasket/Framing for use in up to 2 hr rated wall assemblies. Provideswith
                                                                                                                                                                                                  100%ASTMunencumbered
                                                                                                                                                                                                             E90-09
                                                                                                                  joint protection accommodates up to 1 1/2” overall movement with level III (seismic) certification.
                                                 6                                                                Minimum G40 (25ga) and G60 (18ga and heavier) coating two legs with slots spaced 1” O/C for
                                                                                                         Fire Rated Gasket – “FRG” Flex Lock Edge Joint Protection
                                                                                                                  attachment of studs per listed assemblies in UL Fire Resistance Directory.
                                                 7
                                                                                                                             (I)
                                                                                                                                                                                             Profile      Gasket Width             Install Gap      Deflection
                                                 8                                                                           (S)
                                                                                                                                                                                             (L)
                                                                                                                                                                                            FRG-50              0.75”                 1/4”                1/2"
                                                 9                                                                                              1.00"         .25"                          FRG-75              1.00”                 3/8”                3/4"
                                                                                                                                                             Fastener mid-height
                                                                                                                                                              of exposed slot               FRG-100             1.25”                 1/2"                 1”
                                            10                                                                   Widths (W)                      Mil (Ga)             Part Identification
                                                                                                                  250 (2 1/2")                  .030 (20)            Example: 362DSL2-30
                                                                                                                                                                                            FRG-150             1.50”                 3/4"                1.50”
                                            11                                                                    362 (3 5/8")
                                                                                                                  400 (4")
                                                                                                                                                .033 (20)
                                                                                                                                                .043 (18)             362 DSL 2         -FRG-200
                                                                                                                                                                                          30                    2.25”                  1”                 2.00”
                                                                                                                  600 (6")                      .054 (16)
                                                                                                                                                                                 Series FRG-300                 3.25”                 1.50”               3.00”
                                            12                      Product Profile                      Dimensions
                                                                                                                 800 (8")                       .068 (14)      Track Width
                                                                                                                                                                         Profile         Gauge
                                                                                                                                   1 - Series (Fire Stop One Side)                          FRG-400
                                                                                                                                                                                                2 - Series (Fire4.25”
                                                                                                                                                                                                                 Stop Both Sides) 2.00”                   4.00”
                                                                                                                                                  (W)                                                           (W)
TROJAN LAW OFFICES




                                            13
                                                                                                               ➢ “Peel & Stick” Gasket “Wrap Around” Seal - Before MEP, Stud & Drywall
                                                                                                                                      Sound Tested in Accordance
                     BEVERLY HILLS




                                            14                                                                 ➢ Up to(L)4.00”withDeflection
                                                                                                                                   ASTM E90-09
                                                                                                                                                  (L)
                                                                                                                                               - 100%       (L)
                                                                                                                                                      Unencumbered               (L)
                                                                                                                                                                   Smallest Install  Gaps
                                                                                                               ➢ Single Composite Profile - Rated for Both 1 & 2-Hour Assemblies
                                            15       PS6 - “DSL” (Slotted Both Sides) Profiles with two slotted legs
                                                                                                               ➢ Lifetime Fire, Smoke, & Sound Protection - No Material Fatigue
                        Composite Gasket/Framing for use in up to 2 hr rated wall assemblies. Provides 100% unencumbered
                        joint protection accommodates up to 1 1/2” overall movement with level III (seismic) certification.
                                            16              an elongate                                     ➢ No
                                                                                                           The
                        Minimum G40 (25ga) and G60 (18ga and heavier) coating two legs with slots spacedProfile  Additional
                                                                                                               FRG  Products
                                                                                                             1” O/C for     “Posthave
                                                                                                                                  Drywall
                                                                                                                            Leg Length
                                                                                                                                      anJoint
                                                                                                                                           Strip Fill”
                                                                                                                                          elongateWidth Material
                                                                                                                                                         strip.    Requirements
                                                                                                                                                           Slot Height     Joint
                        attachment of studs per listed assemblies in UL Fire Resistance Directory.                             (L)              (I)            (S)       Protection

                               (I)          17              strip                                          DSL
                                                                                                           DSLW
                                                                                                               ➢ Exposed (Optional) Reveal or Hidden
                                                                                                                              2.50"
                                                                                                                              3.00"
                                                                                                                                                 1.00" Rating of Cosmetic Tape/Trims
                                                                                                                                                              1.50"       .75"
                                                                                                                                                                                   1.25"                1.50"              1.00"

                                     (S)
                                                            comprising:       (L)                          DSLX               4.00"                                                1.75"
                                                                                                                              ➢ UL 2079: Certified with Level III (Seismic) Deflection Rating
                                                                                                                                                                                                        2.00"              1.50"
                                            18                                                                    UL, ASTM   & Code Standards                Leed Points
                                                                                                                        ➢ ASTM         E-90: Certified to Exposed     Joint Protection (STC 64)
                                                        1.00"         .25"                                        UL2079 (5th Edition) & CAN/ULC S115        MR 2.1 & 2.2 - Construction Waste: up to 2pts
                                                                                                                  ASTM ➢E814,Temperature:        Storage & Application:     10 - 150    ℉ up to 2 pts
                                            19
                                                                     Fastener mid-height
                                                                      of exposed slot                                          E1966, E2837                  MR 4.1 & 4.2 - Recycled Content:
                                                                                                                  A1003, A653, A924, C645, C754, C955        MR 5.1 & 5.2 - Regional Proximity
                                      Widths (W)         Mil (Ga)             Part Identification
                                      250 (2 1/2")      .030 (20)
                                                                                                                  Sound Tested according to ASTM E90-09      EQ 4.1 - Low Emitting Materials
                                                                             Example: 362DSL2-30
                                            20
                                      362 (3 5/8")
                                      400 (4")
                                                        .033 (20)
                                                        .043 (18)             362 DSL 2           - 30
                                                                                                                  2015 & 2018 IBC                            EQ 9 - Enhanced Acoustical
                                      600 (6")          .054 (16)                                                                                             Phone: (425) 869-2811 Fax: (425) 869-2300
                                      800 (8")          .068 (14)      Track Width       Series
                                                                                                                                                                                           Rollover &
                                                                                                                                                                        U.S. Patent #10,626,598
                                            21
                                             1 - Series (Fire Stop One Side)
                                                                                 Profile        Gauge
                                                                                                           2 - Series (Fire Stop Both Sides)
                                                                                                                                                                                       Compress to                      Install Gap                               Substrate
                                                            (W)                                                           (W)                                                           Substrate                       Deflection
                                                                                                                                                                               FRG
                                            22                                                                                                                           www.saftiseal.com
                                                                                                                                                                             Flex Edge
                                           (L)                                (L)                        (L)                             (L)
                                                                                                                                                                                                                                                                  Safti-Seal
                                                                                                                                                                                                                                                                    FRG
                                            23
                                                                                                                                                                                                                      Partition per
                                            24 Profile              Leg Length             Strip Width         Slot Height           Joint
                                                                                                                                                                                                                       Schedule
                                                                       (L)                      (I)                (S)             Protection

                                            25       DSL
                                                     DSLW
                                                                      2.50"
                                                                      3.00"
                                                                                              1.00"
                                                                                              1.25"
                                                                                                                  1.50"
                                                                                                                  1.50"
                                                                                                                                      .75"
                                                                                                                                    1.00"                              U.S. Patent #10,626,59
                                                     DSLX             4.00"                   1.75"               2.00"             1.50"
                                                                                                                                                                        www.saftiseal.com
                                            26
                        UL, ASTM & Code Standards                                             Leed Points
                        UL2079 (5th Edition) & CAN/ULC S115                                   MR 2.1 & 2.2 - Construction Waste: up to 2pts
                        ASTM E814, E1966, E2837                                               MR 4.1 & 4.2 - Recycled Content: up to 2 pts
                                            27
                        A1003, A653, A924, C645, C754, C955
                        Sound Tested according to ASTM E90-09
                                                                                              MR 5.1 & 5.2 - Regional Proximity
                                                                                              EQ 4.1 - Low Emitting Materials
                        2015 & 2018 IBC                                                       EQ 9 - Enhanced Acoustical

                                            28                        Phone: (425) 869-2811 Fax: (425) 869-2300
                                                                                U.S. Patent #10,626,598
                                                                                                                                                                     -12-
                                                                                 www.saftiseal.com
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 16 of 26 Page ID
                                                                      #:9458
                                                                                                                                         Sound Tested in Accordance
                                                                                                                                             with ASTM E90-09

                                       1                                  The ‘389 Patent
                                           Claim 7          FRGFire Rated–Gasket
                                                                 Products         – “FRG”
                                                                           See Exhibit   448 –Flex
                                                                                                449Lock Edge Joint Protection
                                       2   a fire-          The FRG products have a fire-resistant material portion.
                                                                                                                 Profile       Gasket Width          Install Gap       Defle
                                       3   resistant
                                                                                                                 FRG-50            0.75”                  1/4”           1/2
                                           material
                                       4   portion;                                                              FRG-75            1.00”                  3/8”           3/4
                                                                                                                FRG-100            1.25”                  1/2"            1
                                       5
                                                                                                                FRG-150            1.50”                  3/4"           1.5
                                       6                                                                        FRG-200            2.25”                   1”            2.0
                                                                                                                FRG-300            3.25”                 1.50”           3.0
                                       7
                                                                                                                FRG-400            4.25” Sound Tested2.00”
                                                                                                                                                      in Accordance
                                                                                                                                                                         4.0
                                                                                                                                             with ASTM E90-09
                                       8
                                                                     ➢ “Peel & Stick” Gasket “Wrap Around” Seal - Before MEP, Stud & Drywall
                                       9   a foam               Fire
                                                            The FRG  Rated
                                                                  ➢ products Gasket
                                                                               have
                                                                     Up to 4.00”      a –foam
                                                                                 Deflection“FRG”    Flexportion
                                                                                               material
                                                                                            - 100%       Lock Edge
                                                                                                   Unencumbered        Joint
                                                                                                                attached
                                                                                                                Smallest   to the
                                                                                                                         Install Protection
                                                                                                                                 Gaps
                                      10   material         fire-resistant material
                                                                     ➢ Single       portion.
                                                                              Composite Profile - Rated for Both 1 & 2-Hour Assemblies
                                                                                                                    Profile       Gasket Width           Install Gap      D
                                           portion                   ➢ Lifetime Fire, Smoke, & Sound Protection - No Material Fatigue
                                      11                                                                           FRG-50                0.75”                  1/4”
                                           attached to               ➢ No Additional “Post Drywall Joint Fill” Material Requirements
                                           the fire-                                                               FRG-75                1.00”                  3/8”
                                      12                             ➢ Exposed (Optional) Reveal or Hidden Rating of Cosmetic Tape/Trims
                                           resistant                                                           FRG-100         1.25”         1/2"
TROJAN LAW OFFICES




                                      13   material                         ➢ UL 2079: Certified with Level IIIFRG-150
                                                                                                                (Seismic) Deflection
                                                                                                                               1.50” Rating  3/4"
                                                                            ➢ ASTM E-90: Certified to ExposedFRG-200
                                                                                                                 Joint Protection (STC 64)
                                           portion; and
                     BEVERLY HILLS




                                      14                                                                                       2.25”          1”
                                                                            ➢ Temperature: Storage & Application: 10 - 150 ℉
                                                                                                               FRG-300         3.25”        1.50”
                                      15
                                                                                                                  FRG-400                4.25”               2.00”
                                                                                                                                            Sound Tested in Accordance
                                      16                              ➢ “Peel & Stick” Gasket “Wrap Around” Seal  - Before
                                                                                                             Rollover &                     MEP,with Stud    & Drywall
                                                                                                                                                     ASTM E90-09
                                                                                                                       Compress to
                                      17   an adhesive      The FRG➢products     have
                                                                        Up to 4.00”    an adhesive
                                                                                    Deflection - 100% portion     attached
                                                                                                        Unencumbered
                                                                                                          FRG
                                                                                                                              toInstall
                                                                                                                  SubstrateSmallest
                                                                                                                                        Gap
                                                                                                                                  atInstall
                                                                                                                                       least
                                                                                                                                Deflection   Gaps
                                           portion               Fire
                                                            one of the Rated    Gasket   –  “FRG”      Flex     Lock   Edge    Joint       Protection
                                                                     ➢ fire-resistant material
                                                                        Single Composite  Profile -portion forand
                                                                                                        Flex Edge
                                                                                                    Rated         the1 &
                                                                                                               Both    foam    material
                                                                                                                           2-Hour  Assemblies
                                      18
                                           attached to at   portion. ➢ Lifetime Fire, Smoke, & Sound Protection - No Material Fatigue
                                                                                                                    Profile       Gasket Width           Install Gap      D
                                      19   least one of
                                                                      ➢ No Additional “Post Drywall Joint Fill” Material Requirements
                                                                                                            FRG-50        Partition per
                                                                                                                          0.75”         1/4”
                                           the fire-                                                                        Schedule
                                      20                              ➢ Exposed (Optional) Reveal or HiddenFRG-75
                                                                                                              Rating of Cosmetic
                                                                                                                          1.00” Tape/Trims
                                                                                                                                        3/8”
                                           resistant
                                                                                                   U.S. Patent #10,626,59
                                      21   material                                                           FRG-100
                                                                            ➢ UL 2079: Certified with Level III              1.25”
                                                                                                                 (Seismic) Deflection Rating1/2"
                                           portion and                                                        FRG-150
                                                                                                 www.saftiseal.com
                                                                            ➢ ASTM E-90: Certified  to Exposed               1.50” (STC 64) 3/4"
                                                                                                                  Joint Protection
                                      22
                                           the foam                         ➢ Temperature: Storage & Application:
                                                                                                              FRG-20010 - 150   ℉
                                                                                                                             2.25”           1”
                                      23   material                                                                FRG-300               3.25”                1.50”
                                           portion,                                                                FRG-400               4.25”                2.00”
                                      24
                                           wherein                                                                          Rollover &
                                                                      ➢ “Peel & Stick” Gasket “Wrap Around” Seal - Before
                                                                                                              Compress to MEP,
                                                                                                                           InstallStud
                                                                                                                                  Gap & Drywall
                                      25                                                                                    Substrate
                                                                                                                               Deflection
                                           the elongate     When installed,  the FRG
                                                                     ➢ Up to 4.00”      Products,
                                                                                   Deflection - 100%have   an elongate
                                                                                                          FRG
                                                                                                      Unencumbered       fire-block
                                                                                                                      Smallest  Install Gaps
                                                                                                        Flex Edge
                                      26   strip is         wall component    that is positioned   in the  deflection  gap  between
                                                                     ➢ Single Composite Profile - Rated for Both 1 & 2-Hour Assemblies
                                      27   configured to    a respective one ofFire,
                                                                     ➢ Lifetime  the first and& second
                                                                                      Smoke,             flanges of
                                                                                                 Sound Protection     theMaterial
                                                                                                                   - No   track andFatigue
                                           be positioned    the wall board, and attached to the track by the adhesivePartitionportionper
                                      28                              ➢ No Additional “Post Drywall Joint Fill” Material Requirements
                                                                                                                              Schedule

                                                                      ➢ Exposed (Optional)
                                                                                      -13- Reveal or Hidden Rating of Cosmetic Tape/Trims
                                                                                                     U.S. Patent #10,626,59
                                                                            ➢ UL 2079: Certified with Level III (Seismic) Deflection Rating
                                                                                                  www.saftiseal.com
                                                                            ➢ ASTM E-90: Certified to Exposed Joint Protection (STC 64)
                                                     Product Profile Dimensions
                                          Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 17 of 26 Page ID
                                                                           #:9459

                                                                                                                Sound Tested in Accordance
                                            1                                                             The ‘389 Patent
                                                                                                                    with ASTM E90-09
                                    Claim 7                             FRG Products – See Exhibit 448 – 449
                    PS6 2  - “DSL”     (Slotted
                                    in the linear   Both     Sides)  Profiles
                                                                        suchwiththat    two slotted legs
                                                                                             the elongate fire-block wall component seals the
Composite Gasket/Framing for use in up to 2 hr rated wall assemblies. Provides 100% unencumbered
                        3
joint protection accommodates       wall
                                      up to 1 gap         andmovement
                                               1/2” overall             deflection             gap certification.
                                                                            with level III (seismic)    from fire, smoke and sound.
Minimum G40 (25ga) and G60 (18ga and heavier) coating two legs with slots spaced 1” O/C for
attachment of studs per listed attached
                                    assemblies in ULto      FireaResistance Directory.
                        4           flange of a
       (I)

                        5           header track (L)
      (S)
                                    by the
                        6           adhesive 1.00"     .25"
                                                       Fastener mid-height

                        7Mil (Ga) portion             such
                                                        of exposed slot

        Widths (W)                             Part Identification
        250 (2 1/2")     .030 (20) that Example:
                                              the 362DSL2-30
        362 (3 5/8")
        400 (4")        8.033 (20)
                         .043 (18)
                                    elongate              fire-
                                              362 DSL 2 - 30
        600 (6")         .054 (16)
        800 (8")
                        9
                         .068 (14)
                                    block wall
                                        Track Width
                                                    Profile
                                                            Series
                                                                   Gauge


                              (W) component
               1 - Series (Fire Stop One Side)                          2 - Series (Fire Stop Both Sides)
                                                                                       (W)
                     10             seals the
           (L)
                     11             linear(L)wall                     (L)                             (L)


                                    gap from fire,
                     12             smoke and
                                    sound.
     TROJAN LAW OFFICES




                     13
                   Profile          Leg Length
                                        (L)
                                                         Strip Width
                                                              (I)
                                                                             Slot Height
                                                                                 (S)
                                                                                                  Joint
                                                                                               Protection
                                          DSL           2.50"                1.00"           1.50"             .75"
                          BEVERLY HILLS




                                           14
                                          DSLW
                                          DSLX
                                                        3.00"
                                                        4.00"
                                                                             1.25"           1.50"
                                                                                             2.00"
                                                                                                              1.00"
                                                                                                              1.50"
                                                                             1.75"

UL, ASTM & Code Standards
UL2079 (5th Edition) & CAN/ULC S115
                                           15                                Leed Points
                                                                             MR 2.1 & 2.2 - Construction Waste: up to 2pts
ASTM E814, E1966, E2837                                                      MR 4.1 & 4.2 - Recycled Content: up to 2 pts
A1003, A653, A924, C645, C754, C955        16                                MR 5.1 & 5.2 - Regional Proximity
Sound Tested according to ASTM E90-09
2015 & 2018 IBC
                                                                             EQ 4.1 - Low Emitting Materials
                                                                             EQ 9 - Enhanced Acoustical                Deflecti
                                           17          Phone: (425) 869-2811 Fax: (425) 869-2300
                                                                 U.S. Patent #10,626,598
                                           18
                                                                   www.saftiseal.com
                                           19
                                           20
                                           21
                                           22                                   3.          Induced Infringement
                                           23                                               a.   Direct Infringement by Customers
                                           24
                                                                 S4S also induces infringement of the Klein Patents. As a predicate to induced
                                           25
                                                     infringement, S4S’s customers directly infringe by building wall assemblies in the
                                           26
                                                     configurations that are described in the UL listings provided by S4S’s website. (Trial
                                           27
                                                     Ex. 297.) Those ULs instruct customers how to build wall assemblies with the FRG
                                           28
                                                                                                                                       -14-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 18 of 26 Page ID
                                                                      #:9460


                                       1   products and so their existence proves direct infringement. Toshiba Corp. v. Imation
                                       2   Corp., 681 F.3d 1358, 1365 (Fed. Cir. 2012).
                                       3         Below is an exemplary claim chart showing how the ‘365 Patent reads on a
                                       4   wall assembly built in accordance with UL listing HW-D-0890 (Trial Ex. 203) for a
                                       5   track called a slotted resilient channel (referred to by S4S as RCS) (Trial Ex. 214).
                                       6    US Patent 7,681,365
                                            1. A fire retardant        A wall assembly built in accordance with the UL HW-D-
                                       7    head-of-wall               890 listing using the RCS track is a fire retardant head-of
                                       8    assembly configured wall assembly that is configured to seal a linear head-of-
                                            to seal a linear head- wall construction joint or gap when exposed to a heat
                                       9    of-wall construction       source:
                                      10    joint or gap when
                                            exposed to a heat
                                      11    source, comprising:
                                      12
TROJAN LAW OFFICES




                                      13
                     BEVERLY HILLS




                                      14
                                      15
                                      16
                                      17
                                      18    an elongated sheet-       Item 2A of the HW-D-890 UL listing requires “steel
                                      19    metal footer track;       floor runners”, i.e., a footer track
                                            an elongated sheet-       Item 2.A2 of the HW-D-890 UL listing requires “resilient
                                      20    metal header track        ceiling runners”, i.e., an elongated sheet-metal header
                                      21    confronting and           track such as the RCS. The RCS header track and the
                                            vertically spaced         footer track are vertically spaced apart from each other
                                      22    apart from the footer     by the desired height of the wall, and they confront each
                                      23    track, the header track   other, i.e., the header track “U” opens downward and the
                                            including a web           footer track “U” opens upward. The web has a top
                                      24    integrally connected      exterior surface positioned immediately adjacent the
                                      25    to a pair of spaced       ceiling and a bottom interior web surface. The sidewalls
                                            apart and downwardly      are substantially coplanar and they have inner and outer
                                      26    extending sidewalls,      sidewall surfaces, with upper and lower portions, all as
                                      27    the web having a top      shown in the figures above and below:
                                            exterior web surface
                                      28
                                                                                      -15-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 19 of 26 Page ID
                                                                      #:9461


                                       1   positioned
                                           immediately adjacent
                                       2   to a ceiling and a
                                       3   bottom interior web
                                           surface, each sidewall
                                       4   being substantially
                                       5   coplanar and having
                                           inner and outer
                                       6   sidewall surfaces,
                                       7   each sidewall having
                                           an upper sidewall
                                       8   portion adjacent to
                                       9   the web and a lower
                                           sidewall portion;
                                      10   an elongated              The elongated FRG intumescent strip is affixed
                                      11   intumescent strip         lengthwise on both outer sidewall surfaces of the pair of
                                           affixed lengthwise on     sidewalls on the RCS track. It is positioned on the upper
                                      12   at least one of the       sidewall portion. The outer surface of the FRG
                                           outer sidewall            intumescent strip is offset from the outer sidewall surface
TROJAN LAW OFFICES




                                      13
                                           surfaces of the pair of   the intumescent strip offset distance. The FRG
                     BEVERLY HILLS




                                      14   sidewalls, the            intumescent strip has an outer strip surface offset from
                                      15   intumescent strip         the outer sidewall surface an intumescent strip offset
                                           being positioned on       distance.
                                      16   the upper sidewall
                                      17   portion, the
                                           intumescent strip
                                      18
                                           having an outer strip
                                      19   surface offset from
                                           the outer sidewall
                                      20
                                           surface an
                                      21   intumescent strip
                                           offset distance;
                                      22
                                           a plurality of sheet-     A plurality of sheet-metal studs having and upper and
                                      23   metal studs having        lower end portions are vertically positioned between the
                                           upper and lower end       spaced apart and confronting footer and header tracks so
                                      24
                                           portions, the studs       that the lower end portions are received into the footer
                                      25   being vertically          track and the upper portions are received into the header
                                           positioned between        track. The upper end portions of the studs are spaced
                                      26
                                           the spaced apart and      apart from the bottom interior web surface of the header
                                      27   confronting footer        track a first gap distance that allows for ceiling
                                      28
                                           and header tracks         deflections.
                                                                                     -16-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 20 of 26 Page ID
                                                                      #:9462


                                       1   such that the lower
                                           end portions are
                                       2   received into the
                                       3   footer track and the
                                           upper end portions
                                       4   are received into the
                                       5   header track, each of
                                           the upper end
                                       6   portions of the
                                       7   plurality of studs
                                           being spaced apart
                                       8   from the bottom
                                       9   interior web surface
                                           of the header track a
                                      10   first gap distance that
                                      11   allows for ceiling
                                           deflections;
                                      12   and wallboard             Wallboard is attached to at least one side of the plurality
                                           attached to at least      of studs. The top linear end surface of the wallboard is
TROJAN LAW OFFICES




                                      13
                                           one side of the           positioned apart from the ceiling a second gap distance
                     BEVERLY HILLS




                                      14   plurality of studs, the   that allows for ceiling deflections and defines the head-
                                      15   wallboard having a        of-wall construction joint or gap. The wallboard has an
                                           top linear end surface    elongated upper interior wallboard surface in linear
                                      16   positioned apart from     contact with and bearing against the outer strip of the
                                      17   the ceiling a second      FRG Strip. Item 3A of the HW-D-0890 UL listing says
                                           gap distance that         “Gypsum board to overlap a min of 5/8 in. (16mm) or 1/4
                                      18
                                           allows for ceiling        in. (6mm) over the gasket respectively.”
                                      19   deflections and
                                           defines the linear
                                      20
                                           head-of-wall
                                      21   construction joint or
                                           gap, the wallboard
                                      22
                                           having an elongated
                                      23   upper interior
                                           wallboard surface in
                                      24
                                           linear contact with
                                      25   and bearing against
                                           the outer strip surface
                                      26
                                           of the elongated
                                      27   intumescent strip.
                                      28
                                                                                     -17-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 21 of 26 Page ID
                                                                      #:9463


                                       1                       b.   Instructions on S4S Website

                                       2
                                                 S4S induced infringement by providing instructions to its customers to build
                                       3
                                           infringing assemblies using the FRG products. S4S knows how the FRG products
                                       4
                                           are being used. Klein referred to HW-D-0890 as “our most common UL listing” in a
                                       5
                                           July 23, 2020 email to a customer (Jon Jory Corp.) (Trial Ex. 303.) Customers tell
                                       6
                                           S4S what track they are using in fire-stopping applications, seeking instructions on
                                       7
                                           what size FRG Strip to apply in head-of-wall and bottom-of-wall applications. (Trial
                                       8
                                           Ex. 304.)
                                       9
                                                 Mr. Sydry admitted that S4S’s website instructs customers to apply the FRG
                                      10
                                           Strip to metal tracks:
                                      11          Q.    ….On your website you instruct customers to put the FRG tape
                                      12                on a track. You know that, right?
                                                  A.    Yeah.
TROJAN LAW OFFICES




                                      13
                                           (Dkt. 103-14: Sydry 118:17-21.) Specifically, the website has a video that provides
                     BEVERLY HILLS




                                      14
                                      15   that instruction:
                                      16
                                                 Q.     So this video with instructions is on your website for how to
                                      17                install FRG tape on a header in a fire-rated condition on the
                                      18                ceiling, correct?
                                                 A.     Yes, sir. []
                                      19         Q.     So you do instruct your customers to install FRG tape on a U-
                                      20                shaped track in a head-of-wall condition, correct?
                                                 A.     It gives an option, yes.
                                      21
                                      22   (Dkt. 103-14: Sydry 128:24 – 129:7 (objection omitted).) These are the same videos
                                      23   and instructions used by Safti-Seal to instruct customers how to apply the infringing
                                      24   and enjoined Safti-Strip. (Dkt. 103-16: Tullis 48:3-49:16; Trial Ex. 250.)
                                      25         On behalf of S4S, Klein also instructs customers to apply FRG Strip on track
                                      26   in head-of-wall applications. (Dkt. 103-13: Klein Dep., 232:1-234:13, Trial Ex. 298.)
                                      27   Klein and S4S regularly provide engineering judgments where they instruct
                                      28
                                                                                    -18-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 22 of 26 Page ID
                                                                      #:9464


                                       1   customers to install FRG Strip on the upper sidewall portions of u-shaped tracks as
                                       2   part of firestopping wall assemblies. (Trial Ex. 334; Trial Ex. 336; and Trial Ex. 305.)
                                       3                       c.     Instructions for UL Listed Assemblies

                                       4
                                                 S4S also provides specifications for wall assemblies by promulgating UL
                                       5
                                           Listed Assemblies throughout the market. Klein, on behalf of S4S, obtained
                                       6
                                           numerous UL listings that require the FRG Strip to be affixed on the sidewall of the
                                       7
                                           track. (Trial Ex. 204.) Each UL listing requires the intumescent “strip” or “gasket”
                                       8
                                           to be affixed on the upper portion of the track.
                                       9
                                                 By providing instructions through their website, in their training of customers,
                                      10
                                           and via engineering judgements and the UL Listed Assemblies, S4S knowingly
                                      11
                                           induced infringement of the Asserted Patents because when customers assemble the
                                      12
                                           FRG products in the field as instructed they infringe the Asserted Patents.
TROJAN LAW OFFICES




                                      13
                                                 D.     Willfulness
                     BEVERLY HILLS




                                      14
                                                 S4S’s infringement is willful. S4S made and sold the FRG Products despite
                                      15
                                           a high likelihood that doing so would constitute infringement of the Klein Patents
                                      16
                                           because the FRG Products are the same as the infringing SSR Products that were
                                      17
                                           enjoined. The FRG Products use the same metal track as the SSR tracks. S4S has
                                      18
                                           UL approvals for the same products that Safti-Seal had for the SSR products. (Trial
                                      19
                                           Ex. 332.) Thus, S4S sold and continues to sell FRG Strip for use with the same track
                                      20
                                           profiles as Safti-Seal.
                                      21
                                                 S4S actually knew that its actions constituted an unjustifiably high risk of
                                      22
                                           infringement of the Klein Patents because: (a) it was intimately familiar with Judge
                                      23
                                           Robart’s claim construction of “intumescent strip” in the Washington Case; yet (b),
                                      24
                                           S4S did not make a good-faith effort to avoid infringement by modifying the
                                      25
                                           intumescent strip as construed by Judge Robart;4 (c) when this Court construed
                                      26
                                      27   4
                                            S4S merely changed the thickness of the foam, which had nothing to do with the
                                      28   Klein Patents.
                                                                                     -19-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 23 of 26 Page ID
                                                                      #:9465


                                       1   “intumescent strip” essentially like Judge Robart, S4S still continued to sell the
                                       2   products. Thus, S4S did not have a good faith belief that it did not infringe the Klein
                                       3   Patents.
                                       4         Lastly, S4S did not have a good faith belief that the Klein Patents were invalid
                                       5   or unenforceable. S4S relied on Klein’s false declaration to survive summary
                                       6   judgment as discussed above.
                                       7         E.     Damages
                                       8         CEMCO seeks a royalty rate of 20% pursuant to the Georgia-Pacific factors.
                                       9   S4S’s sales from April 2020 to April 2022 totaled                 . (Trial Exhibits 414,
                                      10   415, 416, 459, 460.) Therefore, reasonable royalty damages would be $842,237.80.
                                      11         The 20% royalty rate is neither speculative nor hypothetical, as the Klein
                                      12   Patents have been the subject of several prior licenses. Most recently, the parties to
                                           the Washington Case negotiated a
TROJAN LAW OFFICES




                                      13                                                                                 as part of
                     BEVERLY HILLS




                                      14   the December 2019 settlement, which is an appropriate rate because (i) it was for the
                                      15   SSR products, which are the same as the FRG products; (ii) it was for the same Klein
                                      16   Patents; (iii) it was between essentially the same parties (as S4S is in privity with
                                      17   Klein); and (iv) it was negotiated as a settlement of the Washington Case, which most
                                      18   closely reflects the posture of the parties in the present case. In addition to the
                                      19   December 2019 settlement license, the Klein Patents have also been the subject of
                                      20   other prior licenses.
                                      21                1.     Prior License Agreements
                                      22         BlazeFrame licensed Klein’s patents to ClarkDietrich in 2012. (Trial Ex. 178.)
                                      23   Under that license, “[t]he applicable Royalty Rate for the sale of a particular Licensed
                                      24   Product that contains intumescent shall be equal to:
                                      25

                                      26                 (Id. at p. 10, ¶ D.) In the Original Litigation, Klein/BlazeFrame sought
                                      27

                                      28
                                                                                     -20-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 24 of 26 Page ID
                                                                      #:9466


                                       1                                                                                 (Trial Ex.
                                       2   344.)
                                       3           In the 2016 Case, CEMCO and ClarkDietrich sued Klein and BlazeFrame for
                                       4   breaching the 2015 agreement, and another settlement agreement was reached among
                                       5   the four parties to that suit. (Trial Ex. 180.) ClarkDietrich was granted the exclusive
                                       6   license under the Asserted Patents. The royalty rate was                because it was
                                       7   negotiated as part of an overall settlement of an unrelated lawsuit between
                                       8   ClarkDietrich and CEMCO. (Trial Ex. 406 at p. 42/45.)
                                       9           Most recently, in December 2019 in the Washington Case, CEMCO/
                                      10   ClarkDietrich negotiated a settlement with Klein/Safti-Seal, provided:
                                      11

                                      12
TROJAN LAW OFFICES




                                      13
                     BEVERLY HILLS




                                      14

                                      15

                                      16
                                           (Trial Ex. 447 (emphasis added).)
                                      17

                                      18
                                                        2.    A Reasonable Royalty Rate in the Present Case
                                                   A 20% royalty rate is an appropriate rate based on the Georgia-Pacific factors.
                                      19
                                           First, the royalty rate in the December 2019 settlement of the Washington Case fits
                                      20
                                           the context of the present case: essentially the same patents, same products, and same
                                      21
                                           parties. In the Washington Case, CEMCO/ClarkDietrich negotiated the 20% royalty
                                      22
                                           rate because they had little motivation to license to Klein/Safti-Seal. Now CEMCO
                                      23
                                           has even less motivation to license to S4S as evidenced by CEMCO’s defense of this
                                      24
                                           declaratory action. Therefore, any negotiated rate under Georgia-Pacific would be
                                      25
                                           higher than even the 20% rate in the Washington Case.
                                      26
                                                   Second, the Asserted Patents offer significant benefits over traditional firestop
                                      27
                                           systems, including saving money, time, and complexity in the firestop installation
                                      28
                                                                                       -21-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 25 of 26 Page ID
                                                                      #:9467


                                       1   process. This is explained extensively by none other than Klein himself in his 37

                                       2   C.F.R. 1.132 declaration that he submitted to the Patent Office (Trial Ex. 368), as

                                       3   well as subsequent declarations he submitted in the prior litigations, which tout the

                                       4   significant benefits of putting the intumescent strip on the sidewall of the track as

                                       5   claimed in the Klein Patents. Mr. Pilz will testify as to the benefits of the Pilz ‘389

                                       6   Patent.

                                       7         Third, S4S has a strong desire to sell products practicing the Klein Patents, as

                                       8   demonstrated by the fact that it hired Klein (already found to be infringing) to help it

                                       9   make and sell the FRG products, which are also already found to be infringing in

                                      10   Washington. (Trial Exs. 206-220, 278, and 302.)

                                      11         Fourth, CEMCO knows that S4S wants to sell intumescent tape apart from

                                      12   steel headers, which would cause ClarkDietrich to lose BlazeFrame sales and would
                                           result in downward pricing pressure on the BlazeFrame products, thus hurting the
TROJAN LAW OFFICES




                                      13
                                           royalties CEMCO receives from ClarkDietrich. To protect the value of its license to
                     BEVERLY HILLS




                                      14
                                      15   ClarkDietrich that covers the BlazeFrame products, CEMCO would seek a royalty
                                      16   from S4S that would not allow S4S to provide a competing product at a price that
                                      17   would cause ClarkDietrich to suffer price erosion going forward. CEMCO estimates
                                      18   that a royalty of at least 20% of FRG-Strip sales would be necessary to equalize retail
                                      19   pricing between the products of ClarkDietrich and S4S. (Trial. Ex. 406.)
                                      20         Fifth, CEMCO would be wary of the quality of S4S Strips because they are
                                      21   applied on the job site, regardless of the conditions of the steel (such as wet or dirty
                                      22   steel) or weather conditions and is at times applied on scaffolds, making
                                      23   measurement and application much more difficult. (Trial Exs. 206, 299, and 433.)
                                      24         Sixth, S4S would attempt to take customers and sales from ClarkDietrich as it
                                      25   hired Klein and Mike Tullis to sell to customers that had previously purchased (or
                                      26   are familiar with) BlazeFrame products, which are now sold by ClarkDietrich. (Trial
                                      27   Exs. 278, 295, 296, 302, and 328).
                                      28
                                                                                     -22-
                                     Case 2:20-cv-10409-MCS-JEM Document 162 Filed 04/26/22 Page 26 of 26 Page ID
                                                                      #:9468


                                       1           Seventh, CEMCO would suffer irreparable harm to the scope of its patents by

                                       2   allowing S4S to sell FRG-tape.         For example, ClarkDietrich would lose the

                                       3   exclusivity it negotiated as part of the 2017 Agreement, a loss which would cause

                                       4   irreparable harm in the form of price erosion and loss of market share and

                                       5   ClarkDeitrich may also seek to adjust the terms of its license with CEMCO. (Trial

                                       6   Ex. 406.)

                                       7           Eighth, S4S has positioned infringing FRG products as direct replacements for

                                       8   ClarkDietrich’s BlazeFrame products. (Trial Exs. 184-193, 278, 294-296, 302, 304,

                                       9   329.)

                                      10           Ninth, the previous agreements providing licenses to the Klein Patents were

                                      11   not negotiated under economically comparable circumstances to those present at the

                                      12   hypothetical negotiation as they involved settlement of various litigations. (Trial Exs.
                                           405, 406.)
TROJAN LAW OFFICES




                                      13
                                                   In total, these factors support a royalty rate of 20% for S4S’s sales of the
                     BEVERLY HILLS




                                      14
                                      15   infringing products. Damages should be enhanced due to S4S’s willfulness as
                                      16   discussed above.
                                      17
                                      18                                           Respectfully submitted,
                                      19                                           TROJAN LAW OFFICES
                                      20                                           by
                                      21   April 26, 2022                          /s/ R. Joseph Trojan
                                      22                                           R. Joseph Trojan
                                                                                   Attorney for Defendant,
                                      23                                           CALIFORNIA EXPANDED METAL
                                      24                                           PRODUCTS COMPANY
                                      25
                                      26
                                      27
                                      28
                                                                                     -23-
